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                                        No. 23-1078

                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

                 B.P.J., by her next friend and mother, HEATHER JACKSON,
                                              Plaintiff-Appellant,
                                             v.
                    WEST VIRGINIA STATE BOARD OF EDUCATION, et al.,
                                              Defendants-Appellees,

                                            and

                              STATE OF WEST VIRGINIA, et al.
                                              Intervenors-Appellees.


                      On Appeal from the United States District Court
                   for the Southern District of West Virginia (Charleston)
                                  Case No. 2:21-cv-00316

                        APPENDIX IN SUPPORT OF
            STATE OF WEST VIRGINIA AND LAINEY ARMISTEAD’S
           MOTION TO SUSPEND THE INJUNCTION PENDING APPEAL

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              OFFICE OF THE WEST                  LINDSAY S. SEE
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              VIRGINIA ATTORNEY GENERAL
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USCA4       Appeal: 23-1130
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                                            Doc: 100-2                Filed: 07/11/2023            Pg: 2 of 43
                                                                      Becky Pepper-Jackson - WV Track & Field Bio


                                     r
                            NET                                                                                     Team Results Management


                 Bridgeport
                                 K       Bridgeport, WV




       B.P.J.
       B.P.J.                                                                  TF Bio         Compare l±£                      Profile    Go to XC




    1= Rankings                            2023 Outdoor               2023 Outdoor Season
                                                                      Bridgeport Middle School                                                   7



     Shot Put 6lb - 28' 10"                                           Shot Put - 61b
     Team: 3rd West Virginia:
                                                                       11      24' 1 1 "             Mar 25     Connect Bridgeport            MS F
     National:
                                                                                                                Invitational - Middle
     Discus 1kg - 68' 7"                                                                                        School
     Team: 2nd West Virginia:
                                                                       18      22' 3"               Apr 7       Buckhannon-Upshur             MS F
     National:                                                                                                  Middle School
                                                                                                                Invitational
       Upgrade to Athletic+ for Rankings
                                                                       6       2T 0"                Apr 12      Harrison County               MS F
                                                                                                                Middle School

          Training Log                                                                                          Championships

                                                                       io      26' 9"               Apr 15      Pioneer MS Inv.               MS F
   9/2           Mountain Hollar MS ... 1 99 mj
                                                                       10      26' 10"              Apr 20      Bobcat MS Meet                MS F
   9/16          Doddridge Invitational 1 .86 mi.
                                                                       6       28' 10" PR           Apr 29      Mid Mountain 10 MS            MS F

   9/1           Mountain Hollar MS ... 1 .99 mj.                                                               Championships


                                                                      Discus - 1kg
          Season Records
                                                                       13      52' 1"                Mar 25     Connect Bridgeport            MS F

                                                                                                                Invitational - Middle
     Shot Put - 6lb                                                                                             School
     2022 Outdoor            6              18' 10"
                                                                       12      52' 4"               Apr 7       Buckhannon-Upshur             MS F
     2023 Outdoor            7              28' 10" PR*
                                                                                                                Middle School

     Discus - 1 kg                                                                                              Invitational

     2022 Outdoor            6              49' 7"                     8       50' 4"               Apr 12      Harrison County               MS F
     2023 Outdoor            7              68' 7" PR
                                                                                                                Middle School
     "Improvement                                                                                               Championships

                                                                       7       61'9"                Apr 15      Pioneer MS Inv.               MS F

                                                                       6       66' 0"               Apr 20      Bobcat MS Meet                MS F



 https://www.athletic.net/athlete/18818089/track-and-field/middle-school
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                                                                      Becky Pepper-Jackson - WV Track & Field Bio


                                                                       4       66' 0"               Apr 29      Mid Mountain 10 MS         MS F

                                                                                                                Championships

                                                                       15      68' 7" PR             May 13     Harry Green Statewide      MS F
                                                                                                                MS Invitational



                                                                      2022 Outdoor Season
                                                                      Bridgeport Middle School                                                6



                                                                      Shot Put - 61b

                                                                       36      18' 6.5"              Mar 25     Connect-Bridgeport         MS F
                                                                                                                Middle School

                                                                                                                Invitational

                                                                       57      18' 10" SR            May 14     Harry Green Middle         MS F

                                                                                                                School Invitational


                                                                      Discus - 1kg

                                                                       29      31' 11.5"             Mar 25     Connect-Bridgeport         MS F

                                                                                                                Middle School
                                                                                                                Invitational

                                                                       35      49' 7" SR             May 14     Harry Green Middle         MS F
                                                                                                                School Invitational


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Athletic,                   NET
                                  F
                                                                                                                                                       Team Results Management


                   Bridgeport
                   Braves    MS       Bridgeport, WV




2023 Outdoor Event Records
       Mens                                                                                       A Womens




                                                                                                                                                                                       Doc: 100-2
100 Meters                                                                                       100 Meters

  1.     8 Grayson Chur... 12.10                PR4/20 Bobcat MS Meet                              1.8 Ellie McCall             14.45      pr5/8   McDonald's 8th Grade Invitati...

  2.     8Gabe Martin              12.31        PR4/20 Bobcat MS Meet                              2. 7 Katie Backus            14.47      pr4/1 2 Harrison County Middle Scho...

  3. 158 Patrick Aucre... 12.80                 pr5/8      McDonald's 8th Grade Invit...           3. 7 Scarlett Edgell         1 5.07     pr 5/1 3 Harry Green Statewide MS Inv...




                                                                                                                                                                                       Filed: 07/11/2023
  4.     8 Eli Terebus             12.91        PR4/20 Bobcat MS Meet                              4. 8 Gabrielle Cve... 15.08             pr4/1 2 Harrison County Middle Scho...

         8 Will George             12.92        pr3/25 Connect Bridgeport Invitati...              5. 8 Isabella Hardi... 15.40            PR4/20 Bobcat MS Meet

  6.     8 Sean Veltri             13.91        pr4/1 2 Harrison County Middle Sc...               6. 8 Adaleia Cross           1 5.49     PR4/20 Bobcat MS Meet

  7.     6Urlin Mathews 14.19                   PR4/29Mid Mountain 10 MS Cha...                    7. 8 Addison Min...          15.49      pr5/8   McDonald's 8th Grade Invitati...

  8.     8Tristan Noble            14.42        pr5/8      McDonald's 8th Grade Invit...           8. 6 Bella Pritchard         1 5.58     PR4/26 South Harrison 6th Grade Me...

  9.     6 Aidric Riley            14.42        pr3/25 Connect Bridgeport Invitati...              9. 8 Gretchen Sch... 15.63              PR4/20 Bobcat MS Meet




                                                                                                                                                                                       Pg: 4 of 43
 10.     8 Lopez Roman             14.54        PR4/29Mid Mountain 10 MS Cha...                   10. 6Veena Raol               15.64      pr4/7   Buckhannon-Upshur Middle S...

 11.     6 Owen Glass              14.65        PR4/26 South Harrison 6th Grade ...               11. 8 Lauren Stone            16.09      PR4/20 Bobcat MS Meet

 12.     8 Brilyn Ford-P... 14.78               pr5/8      McDonald's 8th Grade Invit...          12. 6 Colleen Meth... 16.44              PR3/25 Connect Bridgeport Invitation...

 13.     7Braeden Matt... 14.85                 pr3/25 Connect Bridgeport Invitati...             13. 6 Lilli Southern          16.51      PR4/26 South Harrison 6th Grade Me...

 14.     7 Hunter Reid             14.88        PR 5/1 3 Harry Green Statewide MS I...            14. 8 London Davis            16.92      pr5/8   McDonald's 8th Grade Invitati...

 15.     6 Evan Rose               15.02        PR4/20 Bobcat MS Meet                             15. 7 Olivia Reed             17.17      pr4/7   Buckhannon-Upshur Middle S...

 16.     8Jaylen Brown             15.13        pr5/8      McDonald's 8th Grade Invit...          16. 8 MacKenna Ra... 17.59               PR4/20 Bobcat MS Meet

 17.     6 Nathaniel Mo... 15.72                PR4/20 Bobcat MS Meet                             17. 7 Amber Vincent 17.66                PR4/1 5 Pioneer MS Inv.

 18.     6 Maverick Flint          1 6.76       PR4/20 Bobcat MS Meet                             18. 7 Ella Carlson            18.85      pr4/1 2 Harrison County Middle Scho...

 19.     6 Bentley Rowh            1 8.36       PR4/20 Bobcat MS Meet                             19. 6Annabella Bo... 19.15               pr4/7   Buckhannon-Upshur Middle S...

https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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200 Meters                                                                                       200 Meters

  1.     8 Grayson Chur... 24.61                PR4/20 Bobcat MS Meet                              1 . 7 Emma Knicel... 28.83               PR 5/1 3 Harry Green Statewide MS Inv...

  2.     8Gabe Martin              25.33        PR4/29Mid Mountain 10 MS Cha...                    2. 8 Allie Wilson            29.21       PR4/20 Bobcat MS Meet

  3.     8 Luke Rohrig             25.83        PR4/20 Bobcat MS Meet                              3. 7 Madison Ste...          29.77       PR4/29Mid Mountain 10 MS Champi...

  4.     8 Will George             26.84        PR3/25 Connect Bridgeport Invitati...              4. 8 Ellie McCall            30.27       pr5/8   McDonald's 8th Grade Invitati...

  5.     8Aiden Gorby              27.11        PR3/25 Connect Bridgeport Invitati...              5. 7 Ellie Bongiorno 31.25               pr4/1 5 Pioneer MS Inv.

  6.     8 Eli Terebus             28.02        pr3/25 Connect Bridgeport Invitati...              6. 6Veena Raol               33.00       PR3/25Connect Bridgeport Invitation...




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  7.     8 Sean Veltri             28.09        PR3/25 Connect Bridgeport Invitati...              7. 8Gretchen Sch... 33.14                pr5/8   McDonald's 8th Grade Invitati...

  8.     8 Ian Blount              29.16        pr4/1 5 Pioneer MS Inv.                            8. 6 Bella Pritchard         33.29       PR4/29Mid Mountain 10 MS Champi...

  9.     6 Henley Hinkle           29.69        PR4/20 Bobcat MS Meet                              9. 8 Isabella Hardi... 33.41             pr 5/1 3 Harry Green Statewide MS Inv...

 10.     7 Dominic SanJ... 30.21                PR4/29Mid Mountain 10 MS Cha...                   10. 8Addison Min... 33.42                 pr5/8   McDonald's 8th Grade Invitati...

 11.     8 Lopez Roman             30.89        PR4/1 2 Harrison County Middle Sc...              11.8 Kennedy Marsh 34.20                  pr5/8   McDonald's 8th Grade Invitati...




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 12.     8Anderson Sa...           30.95        PR4/29Mid Mountain 10 MS Cha...                   12. 6 Colleen Meth... 34.34               pr4/1 5 Pioneer MS Inv.

 13.     6Urlin Mathews 31.91                   pr4/20 Bobcat MS Meet                             13. 8 Lauren Stone            34.49       pr5/8   McDonald's 8th Grade Invitati...

 14.     6 Aidric Riley            32.13        PR4/26 South Harrison 6th Grade ...               14. 7 Olivia Reed             34.56       PR4/20 Bobcat MS Meet

 15.     6 Evan Rose               32.14        PR4/20 Bobcat MS Meet                             15. 8Adaleia Cross            35.07       PR4/1 5 Pioneer MS Inv.

 16.     6 Lawson Salisb... 34.29               PR3/25 Connect Bridgeport Invitati...             16. 6 Lilli Southern          36.06       pr4/7   Buckhannon-Upshur Middle S...

 17.     6 Nathaniel Mo... 34.33                PR4/20 Bobcat MS Meet                             17. 6 Isla Tobrey             36.11       PR4/26 South Harrison 6th Grade Me...




                                                                                                                                                                                        Pg: 5 of 43
 18.     6Tildon Cope              35.31        PR4/20 Bobcat MS Meet                             18. 8 MacKenna Ra... 37.14                pr5/8   McDonald's 8th Grade Invitati...

 19.     6 Maverick Flint          37.09        pr4/26 South Harrison 6th Grade ...               19. 7 Amber Vincent 37.76                 pr4/1 5 Pioneer MS Inv.

 20.     6 Coley Cozad             37.59        PR3/25 Connect Bridgeport Invitati...             20. 6 Aaliyah Reider 38.19                PR4/26 South Harrison 6th Grade Me...

                                                                                                  21. 6 Annabella Bo... 39.36               PR4/26 South Harrison 6th Grade Me...
400 Meters

  1.     8 Grayson Chur... 54.25                pr5/8      McDonald's 8th Grade Invit...         400 Meters

  2.     8Gabe Martin              58.24c       PR 5/1 3 Harry Green Statewide MS I...             1. 7 Emma Knicel...          1:06.02     PR4/29 Mid Mountain 10 MS Champi...

  3.     8Aiden Gorby              1 :00.64     pr4/1 5 Pioneer MS Inv.                            2. 8 Allie Wilson            1 :06.1 6   pr4/1 2 Harrison County Middle Scho...

  4.     8 Eli Knight              1 :01 .71    pr4/1 5 Pioneer MS Inv.                            3. 7 Ellie Bongiorno 1:10.64c pr5/1 3 Harry Green Statewide MS Inv...

         8 Sean Veltri             1:02.92      pr5/8      McDonald's 8th Grade Invit...           4. 8 Gretchen Sch... 1:17.32             PR4/20 Bobcat MS Meet


https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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  6.     8 Ian Blount              1:03.54      pr5/8      McDonald's 8th Grade Invit...           5. 7 Lylah Dearing           1:19.08    PR4/20 Bobcat MS Meet

  7. 147Carson Bastin              1:04.47      pr4/1 2 Harrison County Middle Sc...               6. 6 Isla Tobrey             1:20.04    PR4/26 South Harrison 6th Grade Me...

  8.     8 McNally Jaxson 1:05.20               pr4/1 2 Harrison County Middle Sc...               7. 7 Olivia Reed             1 :23.59   pr4/1 2 Harrison County Middle Scho...

  9.     8 Sawyer Culice... 1:06.79             pr4/1 2 Harrison County Middle Sc...               8. 6 Aaliyah Reider          1:24.24    PR4/26 South Harrison 6th Grade Me...

 10.     7Braeden Matt... 1:08.98               PR4/20 Bobcat MS Meet                              9. 6 Lilli Southern          1:24.56    PR3/25Connect Bridgeport Invitation...

 11.     8Anderson Sa...           1:10.32      pr5/8      McDonald's 8th Grade Invit...          10. 6 Colleen Meth... 1:26.29            PR4/26 South Harrison 6th Grade Me...

 12.     7 Michael Keeble 1:10.52               PR3/25 Connect Bridgeport Invitati...             11. 6 Annabella Bo... 1:31.10            pr4/1 2 Harrison County Middle Scho...




                                                                                                                                                                                       Doc: 100-2
 13.     6 Evan Rose               1:10.53      PR4/26 South Harrison 6th Grade ...               12. 7 Amber Vincent 1:31.17              PR4/20 Bobcat MS Meet

 14.     6 Nathaniel Mo... 1:19.82              PR4/26 South Harrison 6th Grade ...               13. 6 Bella Pritchard         1:54.43    pr4/7   Buckhannon-Upshur Middle S...

 15.     6BentleyRowh              1:24.60      pr4/1 2 Harrison County Middle Sc...
                                                                                                 800 Meters

800 Meters                                                                                         1 . 7 Haydn Hende... 2:40.84            pr5/1 3 Harry Green Statewide MS Inv...

  1.     8 Eli Knight              2:22.77      pr5/8      McDonald's 8th Grade Invit...           2. 6 Brooklyn Rich... 2:50.19           pr5/1 3 Harry Green Statewide MS Inv...




                                                                                                                                                                                       Filed: 07/11/2023
  2. 147Carson Bastin              2:29.97      PR 5/1 3 Harry Green Statewide MS I...             3. 7 Emma Ahmed              2:55.93    pr4/1 5 Pioneer MS Inv.

  3.     7Zach Hickman             2:39.83      PR 5/1 3 Harry Green Statewide MS I...             4. 6Aria Selario             3:30.20    pr4/1 5 Pioneer MS Inv.

  4.     8 McNally Jaxson 2:40.44               pr3/25 Connect Bridgeport Invitati...
                                                                                                 1600 Meters
  5.     8 Mason Matlock 2:48.85                PR5/8      McDonald's 8th Grade Invit...
                                                                                                   1. 7 Haydn Hende... 5:54.88             PR4/29Mid Mountain 10 MS Champi...
  6.     6Henley Hinkle            2:51.56      pr4/1 2 Harrison County Middle Sc...
                                                                                                   2.7Emma Ahmed                6:19.55    pr5/1 3 Harry Green Statewide MS Inv...
  7.     6 Andrew Wag... 2:52.87                PR4/26 South Harrison 6th Grade ...
                                                                                                   3. 6 Brooklyn Rich... 6:20.61           PR4/26 South Harrison 6th Grade Me...




                                                                                                                                                                                       Pg: 6 of 43
  8.     7 Kieran Moore            2:54.61      pr3/25 Connect Bridgeport Invitati...
                                                                                                   4. 6 Isla Tobrey             6:44.46    PR4/29Mid Mountain 10 MS Champi...
  9.     8 Nolan Matlock 2:55.61                pr5/8      McDonald's 8th Grade Invit...
                                                                                                   5. 6Aria Selario             7:35.60    pr4/1 2 Harrison County Middle Scho...
 10.     7 Michael Keeble 3:09.67               pr4/1 5 Pioneer MS Inv.
                                                                                                 3200 Meters
 11.     6 Nathaniel Mo... 3:14.07              pr4/1 2 Harrison County Middle Sc...
                                                                                                   1. 6 Brooklyn Rich... 13:41.35 PR4/29Mid Mountain 10 MS Champi...
1600 Meters
                                                                                                   2. 7 Emma Ahmed              16:33.02 PR3/25Connect Bridgeport Invitation...
  1.     7 Parker Muncy            5:25.14      PR4/29Mid Mountain 10 MS Cha...
                                                                                                 100m Hurdles - 30"
  2.     7 Kieran Moore            5:42.27      PR 5/1 3 Harry Green Statewide MS I...

  3.     7Zach Hickman             5:43.42      PR4/29Mid Mountain 10 MS Cha...                    1. 7 Katie Backus            18.24c     PR 5/1 3 Harry Green Statewide MS Inv...

  4.     8 Sawyer Culice... 5:55.79             pr5/8      McDonald's 8th Grade Invit...           2. 7 Madison Ste...          19.23      PR3/25Connect Bridgeport Invitation...


https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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  5.     8 Nolan Matlock 6:13.73                PR5/8      McDonald's 8th Grade Invit...           3. 7 Lyla Kelley             19.75      pr5/8   McDonald's 8th Grade Invitati...

  6.     7Jonathon Fer... 6:17.59               pr 5/1 3 Harry Green Statewide MS I...             4. 7 Scarlett Edgell         20.44      pr4/1 2 Harrison County Middle Scho...

  7.     6Andrew Wag... 6:18.85                 PR4/26 South Harrison 6th Grade ...                5. 8 Isabella Hardi... 20.76            pr 5/1 3 Harry Green Statewide MS Inv...

  8.     8 Mason Matlock 6:20.1 8               PR5/8      McDonald's 8th Grade Invit...           6. 6 Caroline Ashe... 20.95             PR4/26 South Harrison 6th Grade Me...

  9.     8 Ben Hughes              6:31.64      pr3/25 Connect Bridgeport Invitati...              7. 6Gianna Beard... 21.20               PR4/26 South Harrison 6th Grade Me...

 10.     7 Isaac Boyce             6:34.47      pr4/1 2 Harrison County Middle Sc...               8. 6 Addison Dau... 21.58               PR4/20 Bobcat MS Meet

 11.     7 Michael Keeble 6:48.41               pr4/1 2 Harrison County Middle Sc...               9. 6Ava Sweeney              22.21      pr4/1 5 Pioneer MS Inv.




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 12.     6 Henley Hinkle           7:13.99      PR4/26 South Harrison 6th Grade ...               10. 6 Isla Tobrey             23.73      PR4/20 Bobcat MS Meet

 13.     6 Coley Cozad             7:1 8.52     pr4/1 5 Pioneer MS Inv.                           11. 7 Lylah Dearing           24.88        4/20 Bobcat MS Meet

3200 Meters                                                                                      200m Hurdles - 30"

  1.     7 Parker Muncy            11:20.98 pr5/1 3 Harry Green Statewide MS I...                  1. 7 Lyla Kelley             33.08      PR4/29Mid Mountain 10 MS Champi...

  2.     7 Kieran Moore            13:07.53 PR4/29Mid Mountain 10 MS Cha...                        2. 7 Madison Ste...          33.74      PR4/20 Bobcat MS Meet




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  3.     7 Cole Phillips           13:13.47 pr4/1 5 Pioneer MS Inv.                                3. 7 Scarlett Edgell         34.61      PR4/20 Bobcat MS Meet

  4.     6 Andrew Wag... 13:49.21 pr4/1 5 Pioneer MS Inv.                                          4. 8 Isabella Hardi... 35.96            pr5/8   McDonald's 8th Grade Invitati...

  5.     8 Ben Hughes              1 3:59.42 pr4/1 5 Pioneer MS Inv.                               5. 7 Katie Backus            36.04      pr3/25 Connect Bridgeport Invitation...

  6.     7Jonathon Fer... 14:11.15 PR3/25Connect Bridgeport Invitati...                            6. 6 Isla Tobrey             38.88      PR4/26 South Harrison 6th Grade Me...

                                                                                                   7. 6 Caroline Ashe... 39.68             PR4/20 Bobcat MS Meet
100m Hurdles - 33"
                                                                                                   8. 6Addison Dau... 39.80                PR4/26 South Harrison 6th Grade Me...
  1.     8Aiden Gorby              15.88        pr5/8      McDonald's 8th Grade Invit...




                                                                                                                                                                                       Pg: 7 of 43
                                                                                                   9. 6Ava Sweeney             40.29       pr4/7   Buckhannon-Upshur Middle S...
  2.     8 Orlando Riley           17.23        pr5/8      McDonald's 8th Grade Invit...
                                                                                                  10. 6Gianna Beard... 40.73               PR3/25 Connect Bridgeport Invitation...
  3.     8 Graham Vine... 18.24c                pr 5/1 3 Harry Green Statewide MS I...
                                                                                                  11. 7 Lylah Dearing          41.07       pr4/1 2 Harrison County Middle Scho...
  4.     8 Nate Dodson             19.37        pr5/8      McDonald's 8th Grade Invit...

  5.     6 Liam Paulsen            20.14        PR4/26 South Harrison 6th Grade ...              4x60 Shuttle Relay

  6.     8 Dodson Nate             21.59        pr4/1 2 Harrison County Middle Sc...               1.7 Madison Ste...          44.87       pr 5/1 3 Harry Green Statewide MS Inv...

  7.     7 Dominic SanJ... 22.50                PR3/25 Connect Bridgeport Invitati...                 7 Scarlett Edgell

  8.     6 Lawson Salisb... 23.09               PR3/25 Connect Bridgeport Invitati...                 7 Lyla Kelley

                                                                                                      7 Katie Backus
200m Hurdles - 30"

  1.     8Aiden Gorby              27.98        pr5/8      McDonald's 8th Grade Invit...         4x100 Relay

https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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  2.     8 Orlando Riley           30.27        PR4/29Mid Mountain 10 MS Cha...                    1.7 Scarlett Edgell 57.26               PR4/29Mid Mountain 10 MS Champi...

  3.     8 Graham Vine... 32.07                 pr 5/1 3 Harry Green Statewide MS I...                 6 Veena Raol

  4.     8 Nate Dodson             32.21        pr5/8      McDonald's 8th Grade Invit...              7 Lyla Kelley

  5.     8 Dodson Nate             34.25        pr4/1 2 Harrison County Middle Sc...                  8 Ellie McCall

  6.     7 Dominic SanJ... 34.44                PR4/20 Bobcat MS Meet                              2. 6 Veena Raol              57.57      pr4/1 5 Pioneer MS Inv.

  7.     6 Liam Paulsen            34.47        PR4/20 Bobcat MS Meet                                 7 Lyla Kelley

  8.     7 Braeden Matt... 34.48                PR4/20 Bobcat MS Meet                                 8 Ellie McCall




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  9.     6 Lawson Salisb... 37.68               pr4/1 5 Pioneer MS Inv.                               7 Katie Backus

 10.     6 Bentley Rowh           42.03         pr4/1 5 Pioneer MS Inv.                            3. 8 Ellie McCall            57.78      PR 5/1 3 Harry Green Statewide MS Inv...

                                                                                                      7 Scarlett Edgell
4x60 Shuttle Relay
                                                                                                      7 Lyla Kelley
  1. 8 Aiden Gorby                41.17         pr5/8      McDonald's 8th Grade Invit...
                                                                                                      7 Katie Backus
       8 Orlando Riley
                                                                                                   4. 7 Lyla Kelley             58.88      pr5/8   McDonald's 8th Grade Invitati...




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       8 Graham Vincent
                                                                                                      8 Adaleia Cross
       8 Nate Dodson
                                                                                                      8 Isabella Hardi...
  2. 8 Orlando Riley              42.47         pr 5/1 3 Harry Green Statewide MS I...
                                                                                                      8 Ellie McCall
       8 Graham Vincent
                                                                                                   5. 7 Scarlett Edgell 59.49              PR4/20 Bobcat MS Meet
       6 Liam Paulsen
                                                                                                      8 Gabrielle Cve...
       7 Braeden Matthis




                                                                                                                                                                                       Pg: 8 of 43
                                                                                                      7 Lyla Kelley
4x100 Relay
                                                                                                      8 Ellie McCall
  1.     8 Gabe Martin             50.11        PR4/20 Bobcat MS Meet                              6. 8 Addison Min... 1:01.15             pr4/1 5 Pioneer MS Inv.
         8 Luke Rohrig                                                                                7 Arianna Vigli...
         8 Eli Terebus                                                                                8 Kennedy Mar...
       158 Patrick Aucre...                                                                           8 Gabrielle Cve...
  2. 8 Gabe Martin                 50.63        PR4/1 2 Harrison County Middle Sc...               7. 6 Veena Raol              1:01.49    PR4/20 Bobcat MS Meet
       8 Eli Terebus                                                                                  8 Addison Min...
       8 Luke Rohrig                                                                                   6 Bella Pritchard
       8 Will George                                                                                  7 Arianna Vigli...


https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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7/5/23, 10:43 AM                                                                 Bridgeport Middle School - Track and Field Outdoor 2023




                                                                                                                                                                                       USCA4 Appeal: 23-1130
  3.     8 Gabe Martin             50.93        PR4/29Mid Mountain 10 MS Cha...                    8. 8 Addison Min... 1:03.46             pr4/1 2 Harrison County Middle Scho...

         8 Lopez Roman                                                                                8 London Davis

         7 Braeden Matt...                                                                             6 Aaliyah Reider

       158 Patrick Aucre...                                                                           7 Arianna Vigli...

  4. 8 Gabe Martin                 51.06        pr5/8      McDonald's 8th Grade Invit...           9. 6 Veena Raol              1:03.46    PR4/26 South Harrison 6th Grade Me...

       8 Lopez Roman                                                                                   6 Lilli Southern

       8 Luke Rohrig                                                                                   6 Gianna Beard...




                                                                                                                                                                                       Doc: 100-2
       8 Eli Terebus                                                                                   6 Bella Pritchard

  5. 8 Will George                 53.88        pr4/1 5 Pioneer MS Inv.                           10. 8 Gretchen Sch... 1:03.53            pr5/8   McDonald's 8th Grade Invitati...

       8 Graham Vincent                                                                               8 London Davis

       8 Eli Terebus                                                                                  8 Lauren Stone

       8 Gabe Martin                                                                                  8 Addison Min...

  6. 1 5 8 Patrick Aucre... 54.69               PR3/25 Connect Bridgeport Invitati...             11.8 Lauren Stone             1:04.62    pr4/1 5 Pioneer MS Inv.




                                                                                                                                                                                       Filed: 07/11/2023
         8 Orlando Riley                                                                               6 Addison Dau...

         8 Luke Rohrig                                                                                 6 Bella Pritchard

         8 Eli Terebus                                                                                 6 Ava Sweeney

  7.     8 Sean Veltri             54.71        PR 5/1 3 Harry Green Statewide MS I...            1 2. 6 Veena Raol             1:04.79    pr4/7   Buckhannon-Upshur Middle S...

       147 Carson Bastin                                                                              8 Kennedy Mar...




                                                                                                                                                                                       Pg: 9 of 43
         8 Lopez Roman                                                                                 6 Lilli Southern

         7 Hunter Reid                                                                                8 Gretchen Sch...

  8. 8 Lopez Roman                 56.90        PR4/20 Bobcat MS Meet                             13. 6 Gianna Beard... 1:07.83            pr4/7   Buckhannon-Upshur Middle S...

       8 Sean Veltri                                                                                   6 Colleen Meth...

       7 Hunter Reid                                                                                   6 Bella Pritchard

       8 Anderson Sauc...                                                                              6 Aaliyah Reider

  9. 6 Maverick Flint              1:00.40      pr4/1 2 Harrison County Middle Sc...              14. 6 Aaliyah Reider 1:09.42             PR3/25 Connect Bridgeport Invitation...

       6 Tildon Cope                                                                                   6 Gianna Beard...

       7 Hunter Reid                                                                                   6 Lilli Southern

       6 Aidric Riley                                                                                 8 Lauren Stone


https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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7/5/23, 10:43 AM                                                                 Bridgeport Middle School - Track and Field Outdoor 2023




                                                                                                                                                                                       USCA4 Appeal: 23-1130
 10. 6 Tildon Cope                 1:01.81      PR4/26 South Harrison 6th Grade ...
                                                                                                 4x200 Relay
       6 Maverick Flint
                                                                                                   1.8 Ellie McCall             2:05.57    PR4/29Mid Mountain 10 MS Champi...
       6 Owen Glass
                                                                                                      8 Gretchen Sch...
       6 Aidric Riley
                                                                                                      8 Adaleia Cross
 11.6 Bentley Rowh                 1:05.36      pr3/25 Connect Bridgeport Invitati...
                                                                                                      7 Ellie Bongiorno
       6 Maverick Flint
                                                                                                   2. 8 Ellie McCall            2:07.2h    PR 5/1 3 Harry Green Statewide MS Inv...
       6 Tildon Cope
                                                                                                      7 Ellie Bongiorno




                                                                                                                                                                                       Doc: 100-2
       6 Aidric Riley
                                                                                                      7 Emma Ahmed
 12. 6 Maverick Flint              1 :06.75     pr4/1 5 Pioneer MS Inv.
                                                                                                      7 Madison Ste...
       6 Tildon Cope
                                                                                                   3. 6 Veena Raol              2:08.44    pr4/1 2 Harrison County Middle Scho...
       7 Braeden Matthis
                                                                                                      8 Gabrielle Cve...
       6 Lawson Salisbury
                                                                                                      8 Gretchen Sch...




                                                                                                                                                                                       Filed: 07/11/2023
4x200 Relay                                                                                           8 Ellie McCall

  1.     8 Aiden Gorby             1:44.03      pr4/1 2 Harrison County Middle Sc...               4. 7 Ellie Bongiorno 2:09.99            pr4/20 Bobcat MS Meet

         8 Will George                                                                                 6 Veena Raol

         8 Luke Rohrig                                                                                8 Gabrielle Cve...

       158 Patrick Aucre...                                                                           8 Ellie McCall

  2.     8 Gabe Martin             1:45.5h      PR 5/1 3 Harry Green Statewide MS I...             5. 6 Veena Raol              2:19.63    pr4/7   Buckhannon-Upshur Middle S...




                                                                                                                                                                                       Pg: 10 of 43
         8 Aiden Gorby                                                                                8 Kennedy Mar...

         8 Will George                                                                                 6 Lilli Southern

       158 Patrick Aucre...                                                                           8 Gretchen Sch...

  3.     8 Aiden Gorby             1:45.67      PR3/25 Connect Bridgeport Invitati...              6. 6 Lilli Southern          2:21.01    PR4/20 Bobcat MS Meet

       158 Patrick Aucre...                                                                           7 Olivia Reed

         8 Will George                                                                                7 Amber Vincent

         8 Luke Rohrig                                                                                 6 Colleen Meth...

  4. 8 Grayson Church              1:46.31      PR5/8      McDonald's 8th Grade Invit...           7. 8 London Davis            2:22.37    pr4/1 5 Pioneer MS Inv.

       8 Will George                                                                                  7 Olivia Reed

       8 Luke Rohrig                                                                                  8 Lauren Stone

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7/5/23, 10:43 AM                                                                 Bridgeport Middle School - Track and Field Outdoor 2023




                                                                                                                                                                                       USCA4 Appeal: 23-1130
       8 Eli Terebus                                                                                  8 Addison Min...

         8 Sean Veltri             1:47.71      PR4/20 Bobcat MS Meet                              8. 7 Amber Vincent 2:24.33              pr4/1 2 Harrison County Middle Scho...

         8 Eli Terebus                                                                                 6 Bella Pritchard

         8 Luke Rohrig                                                                                 6 Colleen Meth...

       158 Patrick Aucre...                                                                           8 Lauren Stone

  6.     8 Sean Veltri             1:52.42      PR4/29Mid Mountain 10 MS Cha...                    9. 6 Veena Raol              2:26.75    PR4/26 South Harrison 6th Grade Me...

         6 Henley Hinkle                                                                               6 Lilli Southern




                                                                                                                                                                                       Doc: 100-2
         8 Ian Blount                                                                                  6 Colleen Meth...

       147 Carson Bastin                                                                               6 Annabella Bo...

  7. 8 Will George                 1:53.72      pr4/1 5 Pioneer MS Inv.                           10. 7 Olivia Reed             2:36.63    pr3/25 Connect Bridgeport Invitation...

       8 Sawyer Culicerto                                                                             7 Amber Vincent

       8 Eli Knight                                                                                    6 Annabella Bo...

       8 Eli Terebus                                                                                  8 MacKenna Ra...




                                                                                                                                                                                       Filed: 07/11/2023
  8. 6 Nathaniel Morr... 2:03.47                pr4/1 2 Harrison County Middle Sc...
                                                                                                 4x400 Relay
       6 Owen Glass
                                                                                                   1.7 Emma Knicel... 4:47.02              pr 5/1 3 Harry Green Statewide MS Inv...
       6 Henley Hinkle
                                                                                                      7 Emma Ahmed
       6 Urlin Mathews
                                                                                                      7 Ellie Bongiorno
  9. 7 Dominic SanJuli... 2:05.94               pr4/1 5 Pioneer MS Inv.
                                                                                                      7 Haydn Hend...




                                                                                                                                                                                       Pg: 11 of 43
       6 Urlin Mathews
                                                                                                   2. 7 Emma Knicel... 4:47.97             PR4/20 Bobcat MS Meet
       8 Anderson Sauc...
                                                                                                      7 Ellie Bongiorno
       6 Lawson Salisbury
                                                                                                      7 Lylah Dearing
 10. 6 Evan Rose                   2:06.94      PR4/26 South Harrison 6th Grade ...
                                                                                                      8 Allie Wilson
       6 Urlin Mathews
                                                                                                   3. 7 Ellie Bongiorno 4:52.89            PR4/29Mid Mountain 10 MS Champi...
       6 Nathaniel Morr...
                                                                                                      7 Lylah Dearing
       6 Henley Hinkle
                                                                                                      8 Gretchen Sch...
 11.6 Maverick Flint               2:07.14      PR4/20 Bobcat MS Meet
                                                                                                      7 Emma Knicel...
       6 Henley Hinkle
                                                                                                   4. 7 Emma Knicel... 5:01.25             pr4/1 5 Pioneer MS Inv.
       7 Hunter Reid
                                                                                                      7 Ellie Bongiorno

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7/5/23, 10:43 AM                                                                 Bridgeport Middle School - Track and Field Outdoor 2023




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      8 Nate Dodson                                                                                   7 Emma Ahmed

 1 2. 8 Lopez Roman                2:13.29      pr3/25 Connect Bridgeport Invitati...                 7 Haydn Hend...

      6 Aidric Riley                                                                               5. 7 Ellie Bongiorno 5:08.27            pr4/7   Buckhannon-Upshur Middle S...

      7 Braeden Matthis                                                                               7 Emma Ahmed

      6 Nathaniel Morr...                                                                              6 Brooklyn Ric...

                                                                                                      7 Haydn Hend...
4x400 Relay
                                                                                                   6. 8 Allie Wilson            5:08.82    pr4/1 2 Harrison County Middle Scho...
  1. 8 Gabe Martin                4:06.69       pr4/1 2 Harrison County Middle Sc...




                                                                                                                                                                                         Doc: 100-2
                                                                                                      7 Lylah Dearing
      8 Sawyer Culicerto
                                                                                                      7 Ellie Bongiorno
      8 Eli Knight
                                                                                                      7 Emma Knicel...
      8 Grayson Church
                                                                                                   7. 7 Amber Vincent 6:1 5.85             pr4/1 2 Harrison County Middle Scho...
  2. 8 Aiden Gorby                4:09.20       pr 5/1 3 Harry Green Statewide MS I...
                                                                                                       6 Annabella Bo...
      7 Parker Muncy
                                                                                                      8 Lauren Stone




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      8 Sawyer Culicerto
                                                                                                       6 Lilli Southern
      8 Gabe Martin

  3. 8 Grayson Church 4:12.11                   pr3/25 Connect Bridgeport Invitati...            4x800 Relay
      8 Sawyer Culicerto                                                                           1 . 7 Emma Ahmed             1 1 :25.1 3 PR4/20 Bobcat MS Meet

      8 Eli Knight                                                                                     6 Isla Tobrey

      8 Gabe Martin                                                                                    6 Brooklyn Ric...




                                                                                                                                                                                         Pg: 12 of 43
  4. 8 Eli Knight                 4:12.36       PR4/29Mid Mountain 10 MS Cha...                       7 Haydn Hend...

      8 Sean Veltri                                                                                2. 7 Emma Ahmed              1 1 : 52. 1 1 pr4/1 2 Harrison County Middle Scho...

      8 Sawyer Culicerto                                                                               6 Brooklyn Ric...

      8 Aiden Gorby                                                                                    6 Isla Tobrey

  5. 8 Grayson Church             4:12.74       pr5/8      McDonald's 8th Grade Invit...              7 Haydn Hend...

      8 Sean Veltri                                                                                3. 7 Emma Knicel... 1 1:54.04 PR3/25Connect Bridgeport Invitation...

      8 Sawyer Culicerto                                                                               6 Brooklyn Ric...

      8 Eli Knight                                                                                    7 Emma Ahmed

  6. 8 McNally Jaxson             4:20.94       PR4/20 Bobcat MS Meet                                 7 Haydn Hend...

      8 Sean Veltri
                                                                                                 4x60 Shuttle Hurdles
https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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7/5/23, 10:43 AM                                                                 Bridgeport Middle School - Track and Field Outdoor 2023




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       8 Aiden Gorby                                                                               1.7 Madison Ste...          44.44       PR4/29Mid Mountain 10 MS Champi...
       8 Eli Knight                                                                                   7 Scarlett Edgell
  7.     7 Zach Hickman 4:35.92                 pr4/1 5 Pioneer MS Inv.                               7 Lyla Kelley
         8 Sean Veltri                                                                                7 Katie Backus
       147 Carson Bastin                                                                           2. 7 Madison Ste...         45.99       pr4/1 5 Pioneer MS Inv.
         8 Sawyer Culic...                                                                            8 Isabella Hardi...
  8. 8 Lopez Roman                4:40.57       pr4/1 2 Harrison County Middle Sc...                  7 Lyla Kelley




                                                                                                                                                                                      Doc: 100-2
       7 Braeden Matthis                                                                              7 Katie Backus
       6 Evan Rose                                                                                 3. 6 Gianna Beard... 50.19              pr4/26 South Harrison 6th Grade Me...
       8 Sean Veltri                                                                                   6 Caroline Ashe...
  9. 8 Lopez Roman                4:42.13       PR4/20 Bobcat MS Meet                                  6 Ava Sweeney
       7 Michael Keeble                                                                                6 Addison Dau...
       7 Dominic SanJuli...




                                                                                                                                                                                      Filed: 07/11/2023
                                                                                                   4. 6 Ava Sweeney             5 1 .39    pr4/1 2 Harrison County Middle Scho...
       7 Zach Hickman                                                                                  6 Isla Tobrey
 10. 8 Lopez Roman                4:46.87       pr4/1 5 Pioneer MS Inv.                                6 Gianna Beard...
       8 Ian Blount                                                                                    6 Caroline Ashe...
       8 Anderson Sauc...                                                                          5. 6 Caroline Ashe... 52.34             pr4/7   Buckhannon-Upshur Middle S...
       7 Braeden Matthis                                                                              7 Lylah Dearing




                                                                                                                                                                                      Pg: 13 of 43
 11.7 Michael Keeble               5:1 6.1 1    pr3/25 Connect Bridgeport I nvitati .. .               6 Gianna Beard...
       6 Coley Cozad                                                                                   6 Ava Sweeney
       7 Braeden Matthis                                                                           6. 6 Addison Dau... 53.78               PR4/20 Bobcat MS Meet
       8 Lopez Roman                                                                                   6 Ava Sweeney

4x800 Relay                                                                                            6 Gianna Beard...

  1.     7 Parker Muncy            10:08.30 PR4/29Mid Mountain 10 MS Cha...                            6 Caroline Ashe...

         8 Eli Knight                                                                            4x100 Shuttle Hurdles - 33"

       147 Carson Bastin
                                                                                                   1.7 Madison Ste...          45.99       pr4/1 5 Pioneer MS Inv.
         8 Sawyer Culic...
                                                                                                      8 Isabella Hardi...
  2.     8 McNally Jaxs... 10:27.62 pr4/20 Bobcat MS Meet                                             7 Lyla Kelley
https://www.athletic.net/team/22121/track-and-field-outdoor/2023/event-records
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         8 Eli Knight                                                                                 7 Katie Backus

       147 Carson Bastin
                                                                                                 Shot Put - 6lb
         7 Parker Muncy
                                                                                                   1.8 Isabella McCu...35‘ 3"               PR4/29Mid Mountain 10 MS Champi...
  3. 8 McNally Jaxson              10:28.90 pr4/1 2 Harrison County Middle Sc...
                                                                                                   2. 8 Kennedy Marsh 32' 4"                PR4/20 Bobcat MS Meet
       8 Eli Knight
                                                                                                      B.P.J.
                                                                                                   3.7B.P.J.                    28'10"      PR4/29Mid Mountain 10 MS Champi...
       8 Sawyer Culicerto
                                                                                                   4. 7Arianna Viglia... 28' 6"             pr4/20 Bobcat MS Meet
       7 Parker Muncy
                                                                                                   5. 8Adaleia Cross            24' 1"      PR3/25Connect Bridgeport Invitation...




                                                                                                                                                                                         Doc: 100-2
  4.     7 Parker Muncy            10:28.9h PR 5/1 3 Harry Green Statewide MS I...
                                                                                                   6. 7 Olivia Reed             22' 5"      pr4/20 Bobcat MS Meet
       147 Carson Bastin
                                                                                                   7. 8 London Davis            21' 10.5"     5/8 McDonald's 8th Grade Invitati...
         7 Zach Hickman
                                                                                                   8. 7 Ella Carlson            21' 1"      PR4/20 Bobcat MS Meet
         8 Sawyer Culic...
                                                                                                   9. 8 Lauren Stone            19'3"       PR3/25 Connect Bridgeport Invitation...
  5.     7 Parker Muncy            10:30.85 PR3/25 Connect Bridgeport Invitati...
                                                                                                 Shot Put - 4kg
       147 Carson Bastin




                                                                                                                                                                                         Filed: 07/11/2023
         8 Sawyer Culic...                                                                         1.8 Isabella McCu...36' 6"               pr4/1 2 Harrison County Middle Scho...

         8 Eli Knight                                                                            Discus - 1kg
  6.     7 Zach Hickman            1 0:36.39 pr4/1 5 Pioneer MS Inv.
                                                                                                   1 . 8 Isabella McCu... 101'5             pr5/8   McDonald's 8th Grade Invitati...
         8 Sawyer Culic...
                                                                                                       B.P.J.
                                                                                                   2. 7B.P.J.                   68' 7"      pr 5/1 3 Harry Green Statewide MS Inv...
       147 Carson Bastin
                                                                                                   3. 8 London Davis            57' 2"      pr4/20 Bobcat MS Meet




                                                                                                                                                                                         Pg: 14 of 43
         7 Parker Muncy
                                                                                                   4. 8Adaleia Cross            55' 2"      pr4/20 Bobcat MS Meet
  7. 8 Eli Knight                  10:57.05 pr5/8          McDonald's 8th Grade Invit...
                                                                                                   5. 8 Kennedy Marsh 53' 1 .5                4/1 5 Pioneer MS Inv.
       8 Sawyer Culicerto
                                                                                                   6. 7Arianna Viglia... 52' 8.5            PR4/1 5 Pioneer MS Inv.
       8 Ben Hughes
                                                                                                   7. 8 Lauren Stone           49' 11"      pr5/8   McDonald's 8th Grade Invitati...
       8 Anderson Sauc...
                                                                                                   8. 7 Ella Carlson           42' 2"       PR4/20 Bobcat MS Meet
  8. 7 Cole Phillips               1 1:31.88 pr4/1 5 Pioneer MS Inv.
                                                                                                   9. 6Aria Selario             39' 2"      PR4/26 South Harrison 6th Grade Me...
       8 Mason Matlock
                                                                                                 High Jump
       8 Nolan Matlock
                                                                                                   1. 7 Lyla Kelley            4' 8"        PR4/1 2 Harrison County Middle Scho...
       7 Kieran Moore
                                                                                                   2. 8 Isabella Hardi... 4' 4"             PR4/20 Bobcat MS Meet
  9.147 Carson Bastin              11:33.49 pr4/1 2 Harrison County Middle Sc...


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                                                                                                                                                                                      USCA4 Appeal: 23-1130
         8 Mason Matlo...                                                                          3. 7 Katie Backus           4‘ 2"       PR4/20 Bobcat MS Meet

         8 Nolan Matlock                                                                           4. 6 Brooklyn Rich... 4' 2"             PR4/29Mid Mountain 10 MS Champi...

         7 Zach Hickman                                                                            5. 7Lylah Dearing            3'10"      pr4/7   Buckhannon-Upshur Middle S...

 10. 6 Henley Hinkle               11:53.76 PR4/20 Bobcat MS Meet
                                                                                                 Pole Vault
      8 Mason Matlock
                                                                                                   1. 7 Madison Ste...          6'0"       pr4/1 2 Harrison County Middle Scho...
      8 Nolan Matlock
                                                                                                   2. 8Adaleia Cross            5' 6"      pr4/1 5 Pioneer MS Inv.
      7 Cole Phillips
                                                                                                   3. 6Veena Raol               5' 0"      PR4/26 South Harrison 6th Grade Me...




                                                                                                                                                                                      Doc: 100-2
 11.7 Zach Hickman                 12:06.37 PR3/25 Connect Bridgeport Invitati...
                                                                                                   4. 7 Emma Knicel... 4' 6"               pr4/1 2 Harrison County Middle Scho...
      8 Mason Matlock
                                                                                                 Long Jump
      8 Nolan Matlock

      8 McNally Jaxson                                                                             1. 7 Scarlett Edgell         14'9"      PR4/20 Bobcat MS Meet

                                                                                                   2. 7 Haydn Hende... 14' 0.5             PR4/29Mid Mountain 10 MS Champi...
4x60 Shuttle Hurdles
                                                                                                   3. 8 Ellie McCall            13'8"      PR4/20 Bobcat MS Meet




                                                                                                                                                                                      Filed: 07/11/2023
  1. 8 Graham Vincent 42.41                     pr4/1 2 Harrison County Middle Sc...
                                                                                                   4. 7 Madison Ste...          12' 6"     pr4/20 Bobcat MS Meet
      8 Orlando Riley
                                                                                                   5. 6 Bella Pritchard         12'1"      PR4/20 Bobcat MS Meet
      6 Liam Paulsen
                                                                                                   6. 6Veena Raol               10' 8"     PR4/20 Bobcat MS Meet
      8 Aiden Gorby
                                                                                                   7. 8Addison Min...           8' 10"     pr4/1 2 Harrison County Middle Scho...
  2. 8 Orlando Riley              43.13         PR4/29Mid Mountain 10 MS Cha...

      8 Graham Vincent




                                                                                                                                                                                      Pg: 15 of 43
      7 Dominic SanJuli...

      7 Braeden Matthis

  3. 8 Orlando Riley              46.17         PR4/20 Bobcat MS Meet

      8 Graham Vincent

      6 Liam Paulsen

      7 Dominic SanJuli...

  4. 6 Liam Paulsen                50.48        pr4/1 5 Pioneer MS Inv.

      7 Dominic SanJuli...

      6 Bentley Rowh

      7 Braeden Matthis

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4x110 Shuttle Hurdles - 39"

  1. 6 Liam Paulsen                50.48        pr4/1 5 Pioneer MS Inv.

       7 Dominic SanJuli...

       6 Bentley Rowh

       7 Braeden Matthis

Shot Put - 4kg

  1.1 58 Patrick Aucre... 43'11                 pr5/8      McDonald's 8th Grade Invit...




                                                                                                                                                        Doc: 100-2
  2.     8Jaylen Brown            41'0"         PR4/29Mid Mountain 10 MS Cha...

  3.     8Tristan Noble           40' 0.25" PR4/1 2 Harrison County Middle Sc...

  4.     7Tytan Martin             39' 7"       PR4/29Mid Mountain 10 MS Cha...

  5.     8 Brilyn Ford-P... 31'7"               PR4/20 Bobcat MS Meet

  6.     6 William Hend... 21' 0.5"             pr4/1 2 Harrison County Middle Sc...




                                                                                                                                                        Filed: 07/11/2023
  7.     6 Elijah Morgan           16'2"        pr4/26 South Harrison 6th Grade ...

Discus - 1kg

  1.     7 Tytan Martin            121'2"
                                   121' 2"      PR4/29 Mid Mountain 10 MS Cha...

  2. 158 Patrick Aucre... 119' 10" PR4/20 Bobcat MS Meet

  3.     8Jaylen Brown             102'3"       PR3/25 Connect Bridgeport Invitati...




                                                                                                                                                        Pg: 16 of 43
  4.     8 Brilyn Ford-P... 88'0                pr4/20 Bobcat MS Meet

  5.     8Tristan Noble            63' 2        pr4/1 5 Pioneer MS Inv.

  6.     6William Hend... 51' 9                 PR4/26 South Harrison 6th Grade ...

  7.     6 Elijah Morgan           36'4         pr4/1 5 Pioneer MS Inv.

High Jump

  1.     8 Grayson Chur... 5' 6                 pr4/1 2 Harrison County Middle Sc...

  2.     8 Ian Blount              5'6"         pr4/1 2 Harrison County Middle Sc...

  3.     8Graham Vine... 5'0"                   PR4/20 Bobcat MS Meet

  4.     7Tytan Martin             5' 0"        PR4/20 Bobcat MS Meet


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                                                                                                                                                        USCA4 Appeal: 23-1130
  5.     8 Dodson Nate            4' 10"        pr4/1 2 Harrison County Middle Sc...

  6.     8Gabe Martin             4' 8"         pr3/25 Connect Bridgeport Invitati...

  7.     8 Nate Dodson            4' 8"            5/8     McDonald's 8th Grade Invit...

  8. 147Carson Bastin             4' 4"         pr4/1 5 Pioneer MS Inv.

  9.     6Tildon Cope              3' 8"        PR4/26 South Harrison 6th Grade ...

Pole Vault

  1. 158 Patrick Aucre... 8'6                   pr 5/1 3 Harry Green Statewide MS I...




                                                                                                                                                        Doc: 100-2
  2.     8 Will George             7' 6"        pr4/1 5 Pioneer MS Inv.

  3.     8 Sawyer Culice... 7' 0                pr4/1 5 Pioneer MS Inv.

  4.     8Graham Vine... 7'0"                   pr4/1 2 Harrison County Middle Sc...

         6 Urlin Mathews 6'6"                   pr4/26 South Harrison 6th Grade ...

  6.     6 Nathaniel Mo... 6' 6                 PR4/26 South Harrison 6th Grade ...




                                                                                                                                                        Filed: 07/11/2023
  7.     6Tildon Cope              5' 0"        PR4/26 South Harrison 6th Grade ...

Long Jump

  1.     8Gabe Martin              19' 7"       PR4/20 Bobcat MS Meet

  2.     8 Eli Knight              18' 1"       pr4/20 Bobcat MS Meet

  3.     8Aiden Gorby              17' 5"       PR4/20 Bobcat MS Meet

         8 Luke Rohrig             16' 5.75" PR3/25 Connect Bridgeport Invitati...




                                                                                                                                                        Pg: 17 of 43
  4.

  5.     8 Will George             15' 5.25" PR3/25 Connect Bridgeport Invitati...

  6.     6 Aidric Riley            13'9.5"      pr3/25 Connect Bridgeport Invitati...

  7.     8 McNally Jaxson 1 3' 8.5"             PR3/25 Connect Bridgeport Invitati...

  8.     6 Owen Glass              12'9.5"      PR4/26 South Harrison 6th Grade ...

  9.     6 Henley Hinkle           12'7.5"      PR4/26 South Harrison 6th Grade ...



*Recent improvement
Age on December 31st. USATF rules for 18-19 year old exception.




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                                   Bridgeport Invitational - Middle School - Womens Middle School Shot Put Results - Track & Field Meet



 Athletic]                    NET,
                                     F
                                                                                                            Team Results Management



   Connect Bridgeport Invitational - Middle School                                                                MS



   OFFICIAL             Mar 25, 2023 9 Bridgeport HS

                                                                Show More Details...




   Womens Middle School Shot Put

   Finals - 61b
   1.      8   Savannah Johnston                                   35-03.00            Doddridge County
   2.      8   Mattie Brown                                        31-07.50            Ritchie County

   3.      8   Tessa Farley                                        30-11.00            Doddridge County
   4.      7   Morgan Morris                                       30-07.50 PR         Ritchie County
   5.      8   Raqi Thomas                                         30-00.00            Suncrest
   6.      8   Reese Lambert                                       29-04.00            Taylor County

   7.      8   Isabella McCullough                                 26-09.00            Bridgeport
   8.      8   Aliyah Bonnell                                      25-11.00            Doddridge County
   9.      7   Isabella Bowers                                     25-08.00            Buckhannon-Upshur
   10.     7   Reagan Watkins                                      25-02.00            South (Morgantown)

   11.     7   B.P.J.
               B.P.J.                                              24-11.00            Bridgeport
   12.     7   Katie Samples                                       24-08.00            Buckhannon-Upshur

   13.     8   Aniya Brown                                         24-05.00            Mountaineer (Morgantown)
   14.     8   Cadence McDonald                                    24-03.00            Robert L. Bland
   15.     8   Adaleia Cross                                       24-01.00 PR         Bridgeport
   16.     8   Chelsea McPherson                                   22-08.00            Mountaineer (Clarksburg)

   17.     8   McKenzie Egress                                     22-08.00            Buckhannon-Upshur
   18.     8   Lilly Anger                                         22-05.50            Elkins

   19.     7   Brooklyn Lesher                                     22-02.50            Keyser

   20.     6   Angel Redman                                        21-07.50 PR         Keyser

   21.     6   Lila Burgr                                          21-07.00            Robert L. Bland
   22.     8   Kayli West                                          21-03.00            Tyler Consolidated

   23.     8   Alyssa Folgeman                                     21-01.50            Suncrest

   24.     8   Aubrey Roy                                          21-00.00            Taylor County

   25.     8   Kayleigh Nelson                                     20-11.50            Keyser

   26.     7   Ella Carlson                                        20-05.50            Bridgeport

   27.     8   Maggie Posey                                        20-03.00            Mountaineer (Clarksburg)
   28.     8   London Davis                                        20-02.00            Bridgeport
   29.     8   Aubrey Cottrill                                     19-10.00            Mountaineer (Clarksburg)
   30.     7   Bailey Fernatt                                      19-03.00            Taylor County

   31.     8   Lauren Stone                                        19-03.00 PR         Bridgeport
   32.     8   Baylee Yost                                         18-04.00            Suncrest

   33.     8   Tessa Velazquez                                     17-10.50            Washington Irving
   34.     8   Ava Cook                                            17-06.00            Mountaineer (Morgantown)

   35.     6   Lillian Harnett                                     17-03.50            Washington Irving
   36.     8   Shilah Jones                                        17-01.00            Tucker Valley

   37.     8   Mary Phillips                                       16-02.50            Tucker Valley
   38.     8   Selena Wilson                                       16-01.50            Tyler Consolidated

   39.     6   Isabella Henderson                                  14-01.00 PR         Mountaineer (Morgantown)
   40.     6   Brandy Gum                                          11-07.50            South Harrison

   41.     7   Mackenzie Collins                                   10-07.00            Ritchie County




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USCA4      Appeal: 23-1130 Connect
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   Connect Bridgeport Invitational - Middle School                                                                MS



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  Womens Middle School Discus

   Finals - 1kg
   1.      1    Morgan Morris                                            76-00 PR   Ritchie County
   2.      8    Ella Powers                                              75-01      Doddridge County

   3.      8    Aliyah Bonnell                                           74-11      Doddridge County
   4.      8    Reese Lambert                                            74-01      Taylor County

   5.      8    Savannah Johnston                                        73-03      Doddridge County
   6.      8    Natalie Henger                                           73-01      Ritchie County

   7.      8    Isabella McCullough                                      64-02      Bridgeport
   8.      8    Raqi Thomas                                              61-00      Suncrest

   9.      8    Mattie Brown                                             59-03      Ritchie County
   10.     7    Katie Samples                                            58-08      Buckhannon-Upshur

   11.     8    Mercy Frase                                              55-00      South Harrison
   12.     8    Aubrey Cottrill                                          53-02      Mountaineer (Clarksburg)

   13.     7   B.P.J.
               B.P.J.                                                    52-01      Bridgeport
   14.     8    London Davis                                             52-00      Bridgeport
   15.     8    Chelsea McPherson                                        49-10      Mountaineer (Clarksburg)
   16.     8    Lorelei Namsupak                                         48-04      Suncrest

   17.     8    Selena Wilson                                            45-02 PR   Tyler Consolidated
   18.     8    Adaleia Cross                                            44-10      Bridgeport

   19.     7    Brooklyn Lesher                                          44-06      Keyser

   20.     8    Madison Richeson                                         44-05 PR   Tyler Consolidated

   21.     6    Angel Redman                                             43-04      Keyser

   22.     8    Baylee Yost                                              42-11      Suncrest

   23.     8    Lauren Stone                                             41-11      Bridgeport
   24.     8    Kayleigh Nelson                                          41-07      Keyser

   25.     8    Maggie Posey                                             39-04      Mountaineer (Clarksburg)
   26.     7    Bailey Fernatt                                           39-01      Taylor County

   27.     7    Hannah Sions                                             38-02 PR   South (Morgantown)
   28.     7    Ella Carlson                                             38-01      Bridgeport
   29.     8    Ava Cook                                                 36-03      Mountaineer (Morgantown)
   30.     6    Maggie O'Neill                                           35-00      Buckhannon-Upshur

   31.     8    Shilah Jones                                             34-11      Tucker Valley
   32.     8    Mary Phillips                                            29-08      Tucker Valley

   33.     8    Savannah Weese                                           29-04      Tyler Consolidated
   34.     6    Lillian Harnett                                          27-11      Washington Irving

   35.     8    Anndrea Cummings                                         26-10      South Harrison
   36.     7    Chloee Crislip                                           23-10      Washington Irving

   37.     6    Dora Gum                                                 22-02      South Harrison
   38.     6    Isabella Henderson                                       18-08      Mountaineer (Morgantown)

           8    Aniya Brown                                              DNS        Mountaineer (Morgantown)
           8    McKenzie Egress                                          DNS        Buckhannon-Upshur




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   Buckhannon-Upshur Middle School Invitational                                                                      MS



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  Womens Middle School Shot Put

   Finals - 61b
   1.       8    Emma Casto                                             31-02.00                   East Fairmont
   2.       8    Kasey Rogers                                           29-11.00                   East Fairmont

   2.       8    Reese Lambert                                          29-11.00 PR                Taylor County
   4.       8    Ashtyn Hill                                            29-05.00                   Robert L. Bland
   5.       8    Brynne Davis                                           29-01.00 PR                Braxton County

   6.       8    Cortney Shaffer                                        28-05.00                   Aurora

   7.       8    Isabella McCullough                                    27-04.00                   Bridgeport
   8.       8    Emily Smith                                            27-03.00 SR                Tygarts Valley
   9.       8    Kennedy Marsh                                          26-10.00                   Bridgeport
   10.      8    Kayleigh Nelson                                        26-08.00                   Keyser

   11.      7    Isabella Bowers                                        25-00.00                   Buckhannon-Upshur
   12.      6    Lila Burgr                                             23-10.00                   Robert L. Bland

   13.      7    Katie Samples                                          23-03.00                   Buckhannon-Upshur
   14.      8    Brooklyn Lesher                                        23-01.00                   Keyser

   15.      8    McKenzie Egress                                        22-05.00                   Buckhannon-Upshur
   16.      8    Tessa Velazquez                                        22-04.00                   Washington Irving

   16.      7    Bailey Fernatt                                         22-04.00                   Taylor County
   18.      8    Joslynn Napier                                         22-03.00                   Braxton County

   18.      7   B.P.J.
                B.P.J.                                                  22-03.00                   Bridgeport
   20.      8    Faithlynn Ferrell                                      21-09.00                   South Harrison

   21.      8    Mary Phillips                                          21-04.00                   Tucker Valley
   22.      8    Aubrey Roy                                             21-01.00                   Taylor County

   23.      8    Ryleigh Bills                                          20-09.00                   East Fairmont
   24.      6    Mckenzie Conrad                                        20-06.00                   Braxton County

   25.      8    Shilah Jones                                           20-03.00 PR                Tucker Valley
   26.      6    Angel Redman                                           19-00.00                   Keyser

   27.      6    Lillian Harnett                                        16-09.00                   Washington Irving
   28.      6    Brandy Gum                                             11-09.00                   South Harrison

            6    Riley Martin                                           DNS                        Tygarts Valley




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   Buckhannon-Upshur Middle School Invitational                                                                     MS



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  Womens Middle School Discus

   Finals - 1kg
   1.        8     Reese Lambert                                                70-11           Taylor County
   2.        8     Linsey Kramer                                                65-11           East Fairmont

   3.        8     Isabella McCullough                                          65-05           Bridgeport
   4.        7     Shalen Moore                                                 62-06           Braxton County

   5.        8     Mercy Frase                                                  60-01           South Harrison
   6.        8    Alexis Herndon                                                59-03           Braxton County

   7.        8     Brooklyn Lesher                                              55-05           Keyser

   8.        8    Ashtyn Hill                                                   54-10           Robert L. Bland
   9.        8     McKenzie Egress                                              54-00           Buckhannon-Upshur
   10.       8     Kaitlyn Woodland                                             52-11           East Fairmont

   11.       7     Katie Samples                                                52-08           Buckhannon-Upshur
   12.       7    B.P.J.
                  B.P.J.                                                        52-04           Bridgeport

   13.       8     Gabriella Berry                                              51-05           Aurora
   14.       8     Kayleigh Nelson                                              49-02           Keyser

   15.       7     Bailey Fernatt                                               48-06           Taylor County
   16.       7     Brooklyn Hymes                                               45-02           East Fairmont

   17.       6    Angel Redman                                                  44-11           Keyser

   18.       8     Kennedy Marsh                                                44-04           Bridgeport

   19.       8    Joslynn Napier                                                42-05           Braxton County

   20.       8     Mary Phillips                                                38-10           Tucker Valley

   21.       8     Shilah Jones                                                 37-10           Tucker Valley
   22.       6     Kenzeta Warner                                               36-02           Aurora

   23.       6     Livey Baker                                                  35-11           Aurora

   24.       6     Maggie O'Neill                                               35-08           Buckhannon-Upshur

   25.       6     Lillian Harnett                                              33-07           Washington Irving
   26.       7     Kenleigh Rittenhouse                                         31-06           Robert L. Bland

   27.       6     Dora Gum                                                     30-11           South Harrison
   28.       8    Anndrea Cummings                                              29-01           South Harrison

   29.       7     Chloee Crislip                                               28-08           Washington Irving
             6    Autumn Wratchford                                             DNS             Tygarts Valley

             6     Riley Martin                                                 DNS             Tygarts Valley




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   Harrison County Middle School Championships                                                                        MS



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  Womens Middle School Shot Put

   Finals - 4kg
         8       Isabella McCullough                                                 36'06 PR                       Bridgeport



   Finals - 6lb
   1.        8      Hannah Westfall                                    33-00.25                 Lincoln
   2.        8      Isabella McCullough                                32-00.50                 Bridgeport
   3.        8      Kennedy Marsh                                      30-00.75                 Bridgeport
   4.        8     Julia Martin                                        29-09.50                 Lincoln

   5.        8      Gracie Devericks                                   28-09.00                 Mountaineer (Clarksburg)
   6.        7     B.P.J.
                   B.P.J.                                              27-00.00                 Bridgeport
   7.        8      Chelsea McPherson                                  26-04.75                 Mountaineer (Clarksburg)
   8.        7     Arianna Viglianco                                   26-01.50                 Bridgeport

   9.        8     Aries Fragman                                       26-00.00 PR              Lincoln

   10.       8     Tessa Velazquez                                     24-06.50 PR              Washington Irving

   11.       7      Emmy Salerno                                       23-00.00 PR              Lincoln
   12.       7      Olivia Reed                                        22-00.00                 Bridgeport

   13.       8      Faithlynn Ferrell                                  21-08.75                 South Harrison
   14.       8     Aubrey Cottrill                                     21-08.50                 Mountaineer (Clarksburg)

   15.       8      Maggie Posey                                       21-00.00                 Mountaineer (Clarksburg)
   16.       7     Abi Owens                                           20-00.00                 Lincoln

   17.       6      Lillian Harnett                                    18-10.50                 Washington Irving
   18.       8     Jai'ah Andrew                                       17-11.50                 Mountaineer (Clarksburg)

   19.       7      Lyliana Vadi                                       17-00.25                 Washington Irving
   20.       6      Brandy Gum                                         12-00.25                 South Harrison




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   Harrison County Middle School Championships                                                                       MS



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  Womens Middle School Discus

   Finals - 1kg
   1.      7    Ava McGill                                               68-03            Lincoln
   2.      8    Isabella McCullough                                      66-07            Bridgeport

   3.      8    Mercy Frase                                              58-03            South Harrison
   4.      7    Emmy Salerno                                             55-03            Lincoln

   5.      8    Adaleia Cross                                            51-03            Bridgeport
   6.      8    Chelsea McPherson                                        50-11            Mountaineer (Clarksburg)

   7.      8    London Davis                                             50-05            Bridgeport
   8.      7   B.P.J.
               B.P.J.                                                    50-04            Bridgeport
   9.      8    Aries Fragman                                            49-05            Lincoln
   10.     7    Sabrina Shriver                                          48-03            Lincoln

   11.     8    Kennedy Marsh                                            48-01            Bridgeport
   12.     8    Aubrey Cottrill                                          47-07            Mountaineer (Clarksburg)

   13.     8    Maggie Posey                                             47-03            Mountaineer (Clarksburg)
   14.     6    Lillian Harnett                                          40-08 PR         Washington Irving

   15.     8    Ty'Yonna Smith                                           40-06 PR         Mountaineer (Clarksburg)
   16.     7    Chloee Crislip                                           37-00            Washington Irving

   17.     8    Jazzmyne Long                                            35-09            Lincoln
   18.     6    Dora Gum                                                 27-11            South Harrison

           8    Anndrea Cummings                                         SCR              South Harrison




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  Pioneer MS Inv.                           MS



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  Womens Middle School Shot Put

  Finals - 6lb
   1.       8    Hannah Westfall                                        33-07.50                    Lincoln
  2.        8    Mattie Brown                                           32-00.00 PR                 Ritchie County

  3.        8    Isabella McCullough                                    31-09.50                    Bridgeport
  4.        8    Ashtyn Hill                                            30-11.00                    Robert L. Bland
  5.        8    Kennedy Marsh                                          29-07.50                    Bridgeport
  6.        8    Cadence McDonald                                       28-06.00 PR                 Robert L. Bland

  7.        8    Brynne Davis                                           28-00.00                    Braxton County

  8.        8    Julia Martin                                           27-08.00                    Lincoln

  9.        7    Morgan Morris                                          27-03.50                    Ritchie County
   10.      7   B.P.J.
                B.P.J.                                                  26-09.00                    Bridgeport

   11.      7    Arianna Viglianco                                      26-04.50                    Bridgeport
   12.      7    Shalen Moore                                           25-09.50 PR                 Braxton County

   13.      8    Joslynn Napier                                         25-07.50                    Braxton County
   14.      7    Isabella Bowers                                        25-06.50                    Buckhannon-Upshur

   15.      6    Lila Burgr                                             24-08.50                    Robert L. Bland
   16.      9    Paige Huffman                                          24-08.00 PR                 Gilmer

   17.      7    Katie Samples                                          24-07.00                    Buckhannon-Upshur
   18.      8    Aries Fragman                                          22-11.50                    Lincoln

   19.      6    Mckenzie Conrad                                        22-11.00 PR                 Braxton County
  20.       7    Olivia Reed                                            21-07.00                    Bridgeport

  21.       8    Claira Stewart                                         21-05.50 PR                 Braxton County

  22.            Peighton Rutherford                                    21-04.00 PR                 Gilmer

  23.       7    Emmy Salerno                                           20-11.00                    Lincoln
  24.       8    Alexis Herndon                                         20-01.50 PR                 Braxton County

  25.       6    Maggie O'Neill                                         19-09.00                    Buckhannon-Upshur
  26.       7    Ella Carlson                                           18-03.50                    Bridgeport

  27.       7    Alawna Powell                                          16-09.50                    Lincoln
  28.       6    Brooklyn Weaver                                        15-03.50                    Buckhannon-Upshur

  29.       6    Clarissa Miller                                        14-04.00 PR                 Gilmer
  30.       7    Mackenzie Collins                                      13-05.50 PR                 Ritchie County

  31.       6    Brandy Gum                                             12-03.50                    South Harrison
            8    Faithlynn Ferrell                                      DNS                         South Harrison




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  Pioneer MS Inv.                          MS



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  Womens Middle School Discus

  Finals - 1kg
   1.       8    Natalie Henger                                          79-11.50 PR               Ritchie County
  2.        8    Isabella McCullough                                     70-09                     Bridgeport

  3.        8    Mattie Brown                                            68-04 PR                  Ritchie County
  4.        7    Shalen Moore                                            65-11                     Braxton County

  5.        7    Katie Samples                                           63-09                     Buckhannon-Upshur
  6.        7    Ava McGill                                              62-11                     Lincoln

  7.        7   B.P.J.
                B.P.J.                                                   61-09                     Bridgeport
  8.        8    Mercy Frase                                             58-07                     South Harrison

  9.        7    Emmy Salerno                                            57-08                     Lincoln
   10.      8    Alexis Herndon                                          56-01                     Braxton County

   11.      8    Joslynn Napier                                          55-01 PR                  Braxton County
   12.      9    Paige Huffman                                           54-06 PR                  Gilmer

   13.      8    Brooklyn Paletti                                        54-00                     Braxton County
   14.      8    Kennedy Marsh                                           53-01.50 SR               Bridgeport
   15.      8    Aries Fragman                                           52-10                     Lincoln
   16.      7    Arianna Viglianco                                       52-08.50 PR               Bridgeport

   17.           Peighton Rutherford                                     51-03                     Gilmer
   18.      7    Morgan Morris                                           51-01                     Ritchie County

   19.      6    Mckenzie Conrad                                         50-10 PR                  Braxton County
  20.       8    Ashtyn Hill                                             50-09                     Robert L. Bland

  21.       8    Adaleia Cross                                           48-10                     Bridgeport
  22.            Samantha Richison                                       48-02 PR                  Gilmer

  23.       7    Sabrina Shriver                                         48-00                     Lincoln
  24.       8    Izabella Freeman                                        47-10                     Lincoln

  25.       8    London Davis                                            47-07                     Bridgeport
  26.       8    Claira Stewart                                          46-10.50 PR               Braxton County

  27.       6    Dora Gum                                                44-00 PR                  South Harrison
  28.       7    Kenleigh Rittenhouse                                    42-02 PR                  Robert L. Bland
  29.       6    Brooklyn Weaver                                         30-01                     Buckhannon-Upshur
  30.       6    Maggie O'Neill                                          28-11                     Buckhannon-Upshur

            8    Anndrea Cummings                                        DNS                       South Harrison




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  Bobcat MS Meet                              MS



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  Womens Middle School Shot Put

  Finals - 6lb
   1.       8    Hannah Westfall                                       34-09.00                  Lincoln

  2.        8    Kennedy Marsh                                         32-04.00 PR               Bridgeport

  3.        8    Isabella McCullough                                   31-07.00                  Bridgeport
  4.        8    Kasey Rogers                                          30-11.50                  East Fairmont

   5.       8    Emma Casto                                            30-05.00                  East Fairmont
  6.        8    Julia Martin                                          29-02.00                  Lincoln

  7.        7    Arianna Viglianco                                     28-06.00 PR               Bridgeport
  8.        7    Katie Samples                                         27-05.00 PR               Buckhannon-Upshur

  9.        8    Ashley Masters                                        26-11.00 PR               Barrackville
   10.      7   B.P.J.
                B.P.J.                                                 26-10.00                  Bridgeport

   11.      8    Emily Smith                                           26-09.50                  Tygarts Valley
   12.      7    Isabella Bowers                                       26-00.00                  Buckhannon-Upshur

   13.      8    Lilly Anger                                           25-04.50 PR               Elkins
   14.      8    Elizabeth Sweeney                                     25-01.00                  Summersville

   15.      8    Tiffany Pheasant                                      24-02.50 PR               East Fairmont
   16.      8    Adaleia Cross                                         23-11.00                  Bridgeport

   17.      8    Juliann Harlan                                        23-10.00 PR               Elkins
   18.      8    Aries Fragman                                         23-09.00                  Lincoln

   19.      7    Lily Burda                                            23-07.00 PR               Elkins
  20.       8    Breonna Plumley                                       23-07.00 PR               Elkins

  21.       8    McKenzie Egress                                       23-06.00                  Buckhannon-Upshur
  22.       7    Kaylen Martin                                         23-05.00 PR               Barrackville
  23.       8    Ryleigh Bills                                         23-04.00 PR               East Fairmont
  24.       7    Olivia Reed                                           22-05.00 PR               Bridgeport

  25.       7    Kyonna Marbury                                        22-04.00                  West Fairmont
  26.       8    Kierra Clay                                           22-03.00                  West Fairmont

  27.       6    Maggie O'Neill                                        21-11.00                  Buckhannon-Upshur
  28.       8    Lily Stark                                            21-11.00 PR               Barrackville
  29.       7    Emmy Salerno                                          21-09.00                  Lincoln

  30.       7    Isabelle Ludwig                                       21-05.00 PR               Elkins

  31.       6    Avery Cyrankowski                                     21-04.00 PR               Barrackville
  32.       7    Abi Owens                                             21-03.00 PR               Lincoln

  33.       7    Ella Carlson                                          21-01.00 PR               Bridgeport
  34.       7    Jillian Plumley                                       20-11.00 PR               Elkins

  35.       8    London Davis                                          20-03.00                  Bridgeport
  36.       8    Layla Frazer                                          19-11.00                  West Fairmont

  37.       8    Bristol Williams                                      18-10.00 PR               Summersville
  38.       6    Brooklyn Weaver                                       18-09.00 PR               Buckhannon-Upshur

  39.       8    Johanna Boone                                         18-07.00                  Summersville
  40.       7    Jayda Stone                                           18-04.00 PR               West Fairmont

  41.       6    Riley Martin                                          17-09.00 PR               Tygarts Valley
  42.       7    Alawna Powell                                         17-05.00 PR               Lincoln

  43.       7    Mallory Ellison                                       16-02.00 PR               West Fairmont

 https://www.athletic.net/TrackAndField/meet/495793/results/f/1/shot
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                                                 Bobcat MS Meet - Womens Middle School Discus Results - Track & Field Meet



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                                                                                                                 Team Results Management



  Bobcat MS Meet                              MS



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  Womens Middle School Discus

  Finals - 1kg
   1.       8    Isabella McCullough                                      75-00                 Bridgeport
  2.        7    Ava McGill                                               70-02                 Lincoln

  3.        8    Gracie Bail                                              69-07 PR              Summersville
  4.        7    Katie Samples                                            67-02 PR              Buckhannon-Upshur

  5.        8    Linsey Kramer                                            66-03 PR              East Fairmont
  6.        7   B.P.J.
                B.P.J.                                                    66-00                 Bridgeport

  7.        7    Emmy Salerno                                             60-10                 Lincoln
  8.        8    London Davis                                             57-02 PR              Bridgeport
  9.        7    Aubrey Efaw                                              56-04 PR              Barrackville
   10.      8    Adaleia Cross                                            55-02 PR              Bridgeport

   11.      8    Elizabeth Sweeney                                        53-07                 Summersville
   12.      8    Aries Fragman                                            52-09                 Lincoln

   13.      8    McKenzie Egress                                          52-05                 Buckhannon-Upshur
   14.      7    Arianna Viglianco                                        51-09                 Bridgeport

   15.      7    Lily Burda                                               51-08 PR              Elkins
   16.      8    Kaitlyn Woodland                                         51-03                 East Fairmont

   17.      7    Sabrina Shriver                                          50-11                 Lincoln
   18.      7    Kaylen Martin                                            50-08                 Barrackville
   19.      8    Kennedy Marsh                                            50-01                 Bridgeport
  20.       8    Lilly Anger                                              49-03                 Elkins

  21.       8    Brooke Donlin                                            49-03 PR              East Fairmont
  22.       8    Breonna Plumley                                          47-10 PR              Elkins
  23.       8    Lauren Stone                                             45-03                 Bridgeport
  24.       8    Izabella Freeman                                         44-11                 Lincoln

  25.       8    Baylee Millett                                           43-01 PR              Elkins
  26.       8    Layla Frazer                                             43-00                 West Fairmont

  27.       7    Ella Carlson                                             42-02 PR              Bridgeport
  28.       7    Kyonna Marbury                                           42-00 PR              West Fairmont

  29.       7    Jillian Plumley                                          41-08 PR              Elkins
  30.       7    Brooklyn Hymes                                           41-08                 East Fairmont

  31.       8    Johanna Boone                                            40-04 PR              Summersville
  32.       6    Maggie O'Neill                                           40-03                 Buckhannon-Upshur

  33.       8    Juliann Harlan                                           39-06 PR              Elkins
  34.       8    Jazzmyne Long                                            39-01 PR              Lincoln

  35.       6    Carson Toothman                                          38-04                 Barrackville
  36.       6    Brooklyn Weaver                                          35-03                 Buckhannon-Upshur

  37.       8    Josey Urse                                               34-07 PR              West Fairmont
  38.       7    Mackenzie Blaniar                                        32-10 PR              West Fairmont

  39.       8    Savannah Moore                                           29-08                 West Fairmont
  40.       6    Emma Richardson                                          27-10                 Barrackville

            6    Autumn Wratchford                                        DNS                   Tygarts Valley
            8    Emilia Tenney                                            DNS                   Elkins



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  Mid Mountain 10 MS Championships                                                        MS



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  Womens Middle School Shot Put

  Finals - 6lb
   1.      8    Hannah Westfall                                        36-11.00             Lincoln
  2.       8    Isabella McCullough                                    35-03.00 PR          Bridgeport

  3.       8   Ashtyn Hill                                             33-05.00             Robert L. Bland
  4.       8    Emma Casto                                             32-01.00 SR          East Fairmont

  5.       8    Kasey Rogers                                           32-00.50 PR          East Fairmont
  6.       7   B.P.J.
               B.P.J.                                                  28-10.00 PR          Bridgeport

  7.       8   Julia Martin                                            28-05.50             Lincoln
  8.       8    Gracie Devericks                                       28-02.50             Mountaineer (Clarksburg)

  9.       8    Cadence McDonald                                       27-02.50             Robert L. Bland
   10.     8    Reese Lambert                                          26-09.00             Taylor County

   11.     8    Chelsea McPherson                                      26-06.50 PR          Mountaineer (Clarksburg)
   12.     7    Isabella Bowers                                        26-03.00 PR          Buckhannon-Upshur

   12.     7    Bailey Fernatt                                         26-03.00 PR          Taylor County
   14.     7    Katie Samples                                          25-10.50             Buckhannon-Upshur

   15.     6    Lila Burgr                                             25-05.00 PR          Robert L. Bland
   16.     8    Lilly Anger                                            24-06.50             Elkins

   17.     8   Aries Fragman                                           24-00.00             Lincoln
   18.     8   Tiffany Pheasant                                        23-10.50             East Fairmont

   19.     8    Breonna Plumley                                        23-05.50             Elkins
  20.      7   Arianna Viglianco                                       23-01.00             Bridgeport

  21.      8   Aubrey Cottrill                                         22-11.50             Mountaineer (Clarksburg)
  22.      8   Juliann Harlan                                          22-05.00             Elkins
  23.      6    Maggie O'Neill                                         22-02.00 PR          Buckhannon-Upshur
  24.      8   Tessa Velazquez                                         22-01.50             Washington Irving

  25.      8   Aubrey Roy                                              21-01.25             Taylor County
  26.      6    Lillian Harnett                                        19-09.00             Washington Irving




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 https://www.athletic.net/TrackAndField/meet/504433/results/f71/shot
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  Mid Mountain 10 MS Championships                                                        MS



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  Womens Middle School Discus

  Finals - 1kg
   1.      7    Ava McGill                                               75-02 PR         Lincoln
  2.            Sadie Jones                                              74-10 PR         Mountaineer (Clarksburg)

  3.       8    Reese Lambert                                            72-03            Taylor County
  4.       7   B.P.J.
               B.P.J.                                                    66-00            Bridgeport
  5.       7    Emmy Salerno                                             65-03            Lincoln
  6.       7    Katie Samples                                            65-00            Buckhannon-Upshur

  7.       8    Linsey Kramer                                            64-03            East Fairmont
  8.       8    Aries Fragman                                            62-00 PR         Lincoln

  9.       7    Bailey Fernatt                                           61-04            Taylor County
   10.     8    Ashtyn Hill                                              54-09            Robert L. Bland

   11.     8    Maggie Posey                                             53-03            Mountaineer (Clarksburg)
   11.     8    Chelsea McPherson                                        53-03            Mountaineer (Clarksburg)

   13.     8    London Davis                                             53-00            Bridgeport
   14.     8    Kaitlyn Woodland                                         51-06            East Fairmont

   15.     8    Lilly Anger                                              49-06            Elkins
   16.     7    Brooklyn Hymes                                           46-11 PR         East Fairmont

   17.     8    Aubrey Roy                                               46-00 PR         Taylor County
   18.     6    Maggie O'Neill                                           43-03            Buckhannon-Upshur

   19.     8    Breonna Plumley                                          41-07            Elkins
  20.      6    Brooklyn Weaver                                          40-09 PR         Buckhannon-Upshur

  21.      7    Lily Burda                                               39-10            Elkins
  22.      6    Lillian Harnett                                          36-05            Washington Irving

  23.      7    Kenleigh Rittenhouse                                     33-06            Robert L. Bland
           8    Tessa Velazquez                                          DNS              Washington Irving

           8    Isabella McCullough                                      DNS              Bridgeport




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  Harry Green Statewide MS Invitational                                                          MS



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  Womens Middle School Discus

  Finals - 1kg
   1.     8    Jenna Geter                                                  101-05            Hurricane
  2.      8    Mila Herscher                                                96-08 PR          Winfield

  3.      8    Aliyah Bonnell                                               87-02             Doddridge County
  4.      8    Ella Powers                                                  81-03             Doddridge County
   5.     7    Kaylee Robinson                                              80-02             Charles Town
  6.      8    Raqi Thomas                                                  80-01 PR          Suncrest

  7.      8    Rylee Gurney                                                 77-01             Winfield
  8.           Sadie Jones                                                  73-11             Mountaineer (Clarksburg)

  9.      7    Ava McGill                                                   73-11             Lincoln
   10.    8    Savannah Johnston                                            73-10 PR          Doddridge County

   11.    7    Kenadie Duckworth                                            73-08             Monongah
   12.    8    Bella Bowman                                                 72-08             Hamilton

   13.    8    Hydee Wykle                                                  70-05             Eastern Greenbrier
   14.    8    Reese Lambert                                                68-08             Taylor County

   15.    7   B.P.J.
              B.P.J.                                                        68-07 PR          Bridgeport
   16.    8    Isabella McCullough                                          65-09             Bridgeport

   17.    7    Emmy Salerno                                                 65-07 PR          Lincoln
   18.    8    Lakrista Buckingham                                          65-03             West Preston

   19.    8    Aniya Brown                                                  62-11             Mountaineer (Morgantown)
  20.     8    Kayla DuVai                                                  59-02             Wildwood

  21.     7    Bailey Fernatt                                               58-02             Taylor County
  22.     8    Marlee Graciano                                           Qi 58-00             Central Preston
  23.     8    Mary Phillips                                                57-10 PR          Tucker Valley
  24.     8    Piper Baldwin                                                57-09             Eastern Greenbrier

  25.     7    Brooklyn Jones                                               56-04 PR          Hurricane
  26.     8    Maggie Posey                                                 55-04             Mountaineer (Clarksburg)

  27.     8    Lilly Anger                                                  54-04 PR          Elkins
  28.     7    Ramona Persinger                                             52-10 PR          South (Morgantown)

  29.     8    Camden Atwood                                                51-00             South (Morgantown)
  30.     7    Gianna Petruzzello                                           50-03             Wildwood

  31.     8    Allison Hawkins                                              47-02             St. Francis Central Catholic
  32.     8    Lorelei Namsupak                                             46-11             Suncrest

  33.     8    Jayden Stark                                                 45-01             Milton
  34.     8    Breonna Plumley                                              43-03             Elkins
  35.     8    Shilah Jones                                                 43-00 PR          Tucker Valley
  36.     7    Sierra Cox                                                   41-10 PR          Heritage Christian
  37.     8    Charlotte LoPinto-Ludas                                      33-08             Mountaineer (Morgantown)
  38.     6    Brooklyn Weaver                                              32-06             Buckhannon-Upshur

  39.     6    Katilynn Downey                                              30-08             St. Francis Central Catholic
          6    Lillian Harnett                                              DNS               Washington Irving

          8    Brooklyn Lesher                                              DNS               Keyser

          8    Kayleigh Nelson                                              DNS               Keyser

          7    Katie Samples                                                DNS               Buckhannon-Upshur

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                                                                       Isabella McCullough - WV Track & Field Bio


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                 Bridgeport
                                 K       Bridgeport, WV




 A Isabella McCullough                                                             TF Bio        Compare l±£                         Profile




    1= Rankings                            2023 Outdoor               2023 Outdoor Season
                                                                      Bridgeport Middle School                                             8



     Shot Put 61b - 35' 3"                                            Shot Put - 4kg
     Team: 1st West Virginia:
                                                                              36' 6" PR           Apr 12     Harrison County         MS F
     National:
                                                                                                             Middle School
     Discus 1kg - 101' 5"                                                                                    Championships
     Team: 1st West Virginia:
                                                                      Shot Put - 61b
     National:

                                                                       7      26' 9"              Mar 25     Connect Bridgeport      MS F
       Upgrade to Athletic+ for Rankings
                                                                                                             Invitational - Middle
                                                                                                             School

                                                                       7      27' 4"              Apr 7      Buckhannon-Upshur       MS F
    S? Season Records
                                                                                                             Middle School
                                                                                                             Invitational
     Shot Put - 4kg
                                                                       2      32' 0.5"            Apr 12     Harrison County         MS F
     2023 Outdoor            8              36' 6" PR
                                                                                                             Middle School

     Shot Put - 61b                                                                                          Championships

     2021 Outdoor            6              22' 2.5"                   3      31'9.5"             Apr 15     Pioneer MS Inv.         MS F
     2022 Outdoor            7              28' 2.5" *

     2023 Outdoor            8              35'3" PR*                  3      31'7"               Apr 20     Bobcat MS Meet          MS F

                                                                       2      35' 3" PR           Apr 29     Mid Mountain 10 MS      MS F
     Discus - 1 kg
                                                                                                             Championships
     2021 Outdoor            6              39' 5"

     2022 Outdoor            7              68'1"*                     5      33' 1"              May 8      McDonald's 8th Grade    MS F
     2023 Outdoor            8              101'5" PR*
                                                                                                             Invitational

     improvement                                                       14     28' 8"              May 1 3    Harry Green Statewide   MS F
                                                                                                             MS Invitational


                                                                      Discus - 1kg

                                                                       7      64' 2"              Mar 25     Connect Bridgeport      MS F

                                                                                                             Invitational - Middle
                                                                                                             School


 https://www.athletic.net/athlete/18497454/track-and-field/middle-school
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                                                                       Isabella McCullough - WV Track & Field Bio


                                                                       3      65' 5"              Apr 7      Buckhannon-Upshur       MS F

                                                                                                             Middle School
                                                                                                             Invitational

                                                                       2      66' 7"              Apr 12     Harrison County         MS F

                                                                                                             Middle School
                                                                                                             Championships

                                                                       2      70' 9"              Apr 15     Pioneer MS Inv.         MS F

                                                                       7      75' 0"              Apr 20     Bobcat MS Meet          MS F

                                                                              DNS                 Apr 29     Mid Mountain 10 MS      MS F

                                                                                                             Championships

                                                                       7      101' 5" PR          May 8      McDonald's 8th Grade    MS F

                                                                                                             Invitational

                                                                       16     65' 9"              May 13     Harry Green Statewide   MS F

                                                                                                             MS Invitational



                                                                      2022 Outdoor Season
                                                                      Bridgeport Middle School                                          7



                                                                      Shot Put - 6lb

                                                                       5      25' 8"              Mar 25     Connect-Bridgeport      MS F

                                                                                                             Middle School
                                                                                                             Invitational

                                                                       3      28' 2.5" SR         May 10     2022 Harrison County    MS F

                                                                                                             Middle School
                                                                                                             Championships

                                                                       19     27' 0"              May 14     Harry Green Middle      MS F
                                                                                                             School Invitational


                                                                      Discus - 1kg

                                                                       5      58' 1 1 "           Mar 25     Connect-Bridgeport      MS F

                                                                                                             Middle School

                                                                                                             Invitational

                                                                       2      64' 9"              May 10     2022 Harrison County    MS F

                                                                                                             Middle School
                                                                                                             Championships

                                                                       13     68' 1 " SR          May 14     Harry Green Middle      MS F

                                                                                                             School Invitational




                                                                                                                               36
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                                                                        Arian na Viglianco - WV Track & Field Bio


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                            NET                                                                                 Team Results Management


                 Bridgeport
                   BmM           K       Bridgeport, WV




 AArianna Viglianco                                                             TF Bio        Compare hi                                    Profile




    1= Rankings                            2023 Outdoor               2023 Outdoor Season
                                                                      Bridgeport Middle School                                                    7



     Shot Put 61b - 28' 6"                                            4x100 Relay
     Team: 4th       West Virginia:
                                                                       5      1:03.46             Apr 12     Harrison County                MS F
     National:
                                                                                                             Middle School
     Discus 1kg - 52' 8.5"                                                                                   Championships
     Team: 6th       West Virginia:                                                                          Addison Minnix, London

     National:                                                                                               Davis, Aaliyah

                                                                                                             Reider, Arianna Viglianco

       Upgrade to Athletic+ for Rankings
                                                                       7      1:01.15             Apr 15     Pioneer MS Inv.                MS F
                                                                                                             Addison Minnix, Arianna

                                                                                                             Viglianco, Kennedy
          Training Log
                                                                                                             Marsh, Gabrielle Cvechko


   3/25          Connect-Bridgeport ... o.O6 mi.                       7      1:01.49             Apr 20     Bobcat MS Meet                 MS F

                                                                                                             Veena Raol, Addison
   5/14          Harry Green Middle ... g.19 mi.
                                                                                                             Minnix, Bella

                                                                                                             Pritchard, Arianna Viglianco


    S? Season Records                                                 4x200 Relay

                                                                              DQ                  Mar 25     Connect Bridgeport             MS F
     100 Meters
                                                                                                             Invitational - Middle
     2022 Outdoor            6              15.86 PR
                                                                                                             School
                                                                                                             Ellie Bongiorno, Lilli
     200 Meters
                                                                                                             Southern, Colleen
     2022 Outdoor            6              32.90 PR
                                                                                                             Metheney, Arianna

     4x100 Relay                                                                                             Viglianco

     2022 Outdoor            6              1:01.61

     2023 Outdoor            7              1:03.46                   4x400 Relay


     4x200 Relay                                                              DNS                 Mar 25     Connect Bridgeport             MS F

                                                                                                             Invitational - Middle

     4x400 Relay                                                                                             School
                                                                                                             Arianna Viglianco, Aaliyah

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                                                                       Arianna Viglianco - WV Track & Field Bio


     Shot Put - 6lb                                                                                          Reider, Addison

     2023 Outdoor            7           28' 6" PR                                                           Daugherty, Ellie Bongiorno



     Discus - 1 kg                                                    Shot Put - 6lb
     2023 Outdoor            7           52' 8.5" PR
                                                                       8      26' 1.5"              Apr 12   Harrison County              MS F
     "Improvement                                                                                            Middle School
                                                                                                             Championships

                                                                       11     26' 4.5"              Apr 15   Pioneer MS Inv.              MS F

                                                                       7      28' 6" PR             Apr 20   Bobcat MS Meet               MS F

                                                                       20     23' 1"                Apr 29   Mid Mountain 10 MS           MS F
                                                                                                             Championships


                                                                      Discus - 1kg

                                                                       16     52' 8.5" PR           Apr 15   Pioneer MS Inv.              MS F

                                                                       14     51'9"                 Apr 20   Bobcat MS Meet               MS F



                                                                      2022 Outdoor Season
                                                                      Bridgeport Middle School                                               6



                                                                      100 Meters

                                                                       27     16.27                 Mar 25   Connect-Bridgeport           MS F

                                                                                                             Middle School
                                                                                                             Invitational

                                                                       46     15.86 PR              May 14   Harry Green Middle           MS P
                                                                                                             School Invitational


                                                                      200 Meters

                                                                       44     32.90 PR              May 14   Harry Green Middle           MS P

                                                                                                             School Invitational


                                                                      4x100 Relay

                                                                       4      1:01.61               Mar 25   Connect-Bridgeport           MS F

                                                                                                             Middle School
                                                                                                             Invitational
                                                                                                             Ellie McCall, Leah

                                                                                                             Rexroad, Katie

                                                                                                             Backus, Arianna Viglianco




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                                                                          Ella Carlson - VW Track & Field Bio


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                            NET                                                                                Team Results Management


                 Bridgeport
     /sV           Breves       AS Bridgeport, WV


 A Ella Carlson                                                             TF Bio        Compare l±£                                 Profile




    1= Rankings                          2023 Outdoor                 2023 Outdoor Season
                                                                      Bridgeport Middle School                                              7



     100 Meters - 18.85                                               100 Meters
     Team: 18th West Virginia:
                                                                       22      18.85 PR           Apr 12    Harrison County           MS F
     National:
                                                                                                            Middle School
     Shot Put 6lb - 21' 1"                                                                                  Championships
     Team: 8th West Virginia:
                                                                       37      19.49              Apr 15    Pioneer MS Inv.           MS F
     National:

                                                                      Shot Put - 6lb
     Discus 1kg -42' 2"

     Team: 8th West Virginia:                                          26     20' 5.5"            Mar 25    Connect Bridgeport        MS F

     National:                                                                                              Invitational - Middle
                                                                                                            School
       Upgrade to Athletic+ for Rankings
                                                                       26      18' 3.5"           Apr 15    Pioneer MS Inv.           MS F

                                                                       33     21' 1" PR           Apr 20    Bobcat MS Meet            MS F
          Training Log
                                                                      Discus - 1kg

   4/12          Harrison County Mid... g.06 mi.
                                                                       28     38' 1 "             Mar 25    Connect Bridgeport        MS F

                 Pioneer MS Inv.                                                                            Invitational - Middle
   4/15                                             0.06 mi.
                                                                                                            School

                                                                       27     42' 2" PR           Apr 20    Bobcat MS Meet            MS F




                                                                                                                                 40
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